          Case 3:99-cr-30022-DRH                      Document 679 Filed 10/19/11                   Page 1 of 1          Page ID
                                                                #657
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Southern District of Illinois

                   United States of America                          )
                              v.                                     )
                                                                     )   Case No: 99-CR-30022-DRH
                    STANLEY MAYBERRY
                                                                     )   USM No: 05116-025
Date of Previous Judgment: 05/11/2001                                )   Phillip J. Kavanaugh
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of X the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 157        months is reduced to 120 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    34               Amended Offense Level:                                             30
Criminal History Category: I                Criminal History Category:                                         I
Previous Guideline Range: 151 to 188 months Amended Guideline Range:                                           120       to 121      months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
This Order grants Doc. 678 and is entered as a result of USSG Amendment 750. If this sentence is less than the amount of time
Defendant has served, the sentence is reduced to a “time served” sentence, understanding that it is not the intent of the Court to affect
the length of supervised release previously ordered. This Order is effective November 1, 2011, absent Congressional action changing
the proposed Guidelines or Amendments or other order of this Court.

Except as provided above, all provisions of the judgment dated 05/11/2001                   shall remain in effect.
IT IS SO ORDERED.                                                                                          Digitally signed by David R.
                                                                                                           Herndon
                                                                                                           Date: 2011.10.19 15:20:14 -05'00'
Order Date:         October 19, 2011
                                                                                                  Judge’s signature


Effective Date: November 1, 2011                                         David R. Herndon - United States District Chief Judge
                     (if different from order date)                                             Printed name and title
